        Case 1:14-ml-02570-RLY-TAB Document 19856 Filed 09/08/21 Page 1 of 1 PageID #:
                                         123284
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


                    CHARLES FOWLER                             )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-cv-06586
              COOK INCORPORATED, et al                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          CHARLES FOWLER                                                                                               .


Date:          08/09/2021                                                                  s/ Jessica Glitz
                                                                                         Attorney’s signature


                                                                              Jessica Glitz - Texas Bar No. 24076095
                                                                                     Printed name and bar number
                                                                                      Tautfest Bond, PLLC
                                                                                  5151 Belt Line Rd., Suite 1000
                                                                                        Dallas, TX 75254

                                                                                               Address

                                                                                      jglitz@tautfestbond.com
                                                                                            E-mail address

                                                                                          (214) 617-9980
                                                                                          Telephone number

                                                                                          (214) 853-4281
                                                                                             FAX number
